Case 1:19-cv-24352-DPG Document 1-2 Entered on FLSD Docket 10/22/2019 Page 1 of 1

JS 44 (Rev. 09/19)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS
JAMES SMITH

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF C “ASES)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(c) Attormeys (Firm Name, Address, and Telephone Number)

STANLEY W. PLAPPERT, ESQUIRE
1024 E. SILVER SPRINGS BLVD., OCALA, FL 34470

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEFENDANTS

NOTE:

Attorneys (/f Known)

 

County of Residence of First Listed Defendant

CARNIVAL CORPORATION

_MIAMI-DADE COUNTY __

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

If. BASIS OF JURISDICTION (Pace an “X" in One Box Only)

 

(For Diversity Cases Only)

Itt. CITIZENSHIP OF P RINCIP. AL PARTIES (Place an °X™ in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 U.S. Government 2X3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State m1 2X 1 Incorporated or Principal Place ao4 34
of Business In This State
2 U.S. Government O14 Diversity Citizen of Another State 2 I 2 Incorporated and Principal Place as 35
Defendant (indicate Citizenship of Parties in lem Hl) of Business In Another State
Citizen or Subject of a M3 %c 3. Forcign Nation 76 D6
Foreign Country
TV. NATURE OF SUIT (lace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
Le CONTRACT. TORTS. FORFETTURE/PENALTY. BANKRUPTCY. OTHER STATUTES |
CF 410 Insurance PERSONAL INJURY PERSONAL INJURY = [CF 625 Drug Related Seizure (I 422 Appeal 28 USC 158 (1 375 False Claims Act
120 Marine OF 310 Airplane CF 365 Personal Injury ~- of Property 21 USC 881 |) 423 Withdrawal C1 376 Qui Tam (31 USC
C1 (30 Miller Act CF 315 Airplane Product Product Liability CF 690 Other 28 USC 157 3729{a))
€) 140 Negotiable Instrument Liability 367 Health Care/ 400 State Reapportionment
C1 150 Recovery of Overpayment | 7 320 Assault, Libel & Pharmaceutical (PROPERTY RIGHTS C) 410 Antitrust
& Enforcement of Judgment Slander Personal Injury CF 820 Copyrights ( 430 Banks and Banking
(15) Medicare Act O 330 Federal Employers’ Product Liability CF 830 Patent 450 Commerce
O 152 Recovery of Defaulted Liability CF 368 Asbestos Personal CY 835 Patent - Abbreviated CY 460 Deportation
Student Loans &% 340 Marine Injury Product New Dmg Application [7 470 Racketeer Influenced and
(Excludes Veterans) fl 345 Marine Product Liability €1 840 Trademark Corrupt Organizations
C1) 153 Recovery of Overpayment Liability PERSONAL PROPERTY : LABOR SSOCTAL SECURITY. O 480 Ci Credit
of Veteran’s Benefits 0 350 Motor Vehicle 0 370 Other Fraud 0} 710 Fair Labor Standards O 861 HIA (1395ff) (15 USC 1681 or 1692)
( 160 Stockholders’ Suits C} 355 Motor Vehicle 01 371 Trath in Lending Act C1 862 Black Lung (923) C3 485 Telephone Consumer
196 Other Contract Product Liability {1 380 Other Personal 1 720 Labor/Management O 863 DIWC/DIWW (405(g)) Protection Act
CF 195 Contract Product Liability | {7 360 Other Personal Property Damage Relations O 864 SSID Title XVI 490 Cable/Sat TV
(1 196 Franchise Injury CI 385 Property Damage [ 740 Railway Labor Act CT? 865 RSI (405{g)}) C1 850 Sceurities/Commodities/
{362 Personal Injury - Product Liability (3 751 Family and Medical Exchange
Medical Malpractice Leave Act © 890 Other Statutory Actions
te REAL PROPERTY. CIVIL RIGHTS PRISONER PETITIONS 10 790 Other Labor Litigation FEDERAL TAX SUITS C1 891 Agricultural Acts

 

©} 210 Land Condemnation

O} 220 Foreclosure

CF 230 Rent Lease & Ejectment
(J 240 Torts to Land

C1 245 Tort Product Liability
€} 290 All Other Real Property

 

& 440 Other Civil Rights

£) 441 Voting

442 Employment

© 443 Housing/
Accommodations

O} 445 Amer. w/Disabilities'-
Employment

0 446 Amer. w/Disabilities -
Other

& 448 Education

Habeas Corpus:
& 463 Alien Detainee
£3 510 Motions to Vacate
Sentence
C530 General
1} 535 Death Penalty
Other:
© 540 Mandamus & Other
O 550 Civil Rights
€) 555 Prison Condition
CF 560 Civil Detainee -
Conditions of
Confinement

 

79! Employee Retirement
Income Security Act

JIMMIGRATION

 

 

C} 462 Naturalization Application
© 465 Other Immigration
Actions

 

CF 870 Taxes (U.S. Plaintiff
or Defendant}

C1 871 IRS—Third Party
26 USC 7609

893 Environmental Matters

CI 895 Freedom of Information
Act

CI 896 Arbitration

C1 899 Administrative Procedure
AcwReview or Appeal of
Agency Decision

C3 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an °X° in One Box Only)

rl Original 1} 2 Removed from [ 3° Remanded from 1 4 Reinstated or © 5 Transferred from © 6 Multidistrict C8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

Cite the US. Civil Stat
ARTICLE fll, SE

 

Brief description of cause:

fee ee, De not no GK jurisdictional statutes untess diversity):

 

 

 

 

VII. REQUESTED IN Ol] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $75,000.00 JURY DEMAND: Yes No
VII. RELATED CASE(S) ‘s
+ ‘See instructions):
IF ANY Oe ILO ODGE DOCKET NUMBER ;
DATE SIGNATURE OE.ATTORNEY OF-RECGORD
10/22/2019 eee Nae

 

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

cance

APPLYING IFP

JUDGE

MAG. JUDGE
